    Case 4:16-cv-00094-ALM Document 362 Filed 08/16/17 Page 1 of 1 PageID #: 9173




                               United States District Court
                                        Eastern District of Texas
                                           Sherman Division

     THE DIAMOND CONSORITUM, INC.                       §
     D/B/A THE DIAMOND DOCTOR, and                      §
     DAVID BLANK                                        §      Civil Action No. 4:16-CV-00094
                                                        §      Judge Mazzant
     v.                                                 §
                                                        §
     BRIAN MANOOKIAN, CUMMINGS                          §
     MANOOKIAN, PLC, and BRIAN                          §
     CUMMINGS


                                                  ORDER

           On August 16, 2017, the parties orally requested the Court to dismiss the above styled and

    numbered case, in accordance with the parties’ settlement of the matter, pursuant to Rule 41.

.          It is therefore ORDERED that the case is DISMISSED WITH PREJUDICE in

    conformity with the parties’ joint request.

           All relief not previously granted is hereby DENIED.

           The Clerk is directed to close this civil action.
            SIGNED this 16th day of August, 2017.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
